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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 LEAGUE OF WOMEN VOTERS et. al.,                       :
                                                       :
               Plaintiffs,                             : CASE NO. 20-cv-3843
                                                       :
                   v.                                  : JUDGE WATSON
                                                       :
 FRANK, LAROSE                                         :
                                                       :
               Defendant.                              :


                      MOTION TO WITHDRAW COUNSEL FOR
                 DEFENDANT SECRETARY OF STATE FRANK LAROSE


        Now comes Attorney Brandi Laser Seskes (0077648) and moves the Court to withdraw her

as counsel in this matter due to a change in employment that renders her ineligible to continue

representing State parties.

        Assistant Attorneys General Julie M. Pfeiffer and Ann Yackshaw remain as lead and trial

counsel and co-counsel respectively on behalf of Defendant Secretary of State Frank LaRose in

this matter.

                                            Respectfully submitted,

                                            /s/ Brandi Laser Seskes
                                            BRANDI LASER SESKES (0077648)
                                            Withdrawing Counsel for Defendant
                                            Ohio Secretary of State Frank LaRose

                                            DAVE YOST
                                            Ohio Attorney General
                                            /s/ Julie M. Pfeiffer
                                            JULIE M. PFEIFFER (0069762)*
                                                 *Counsel of Record
                                            ANN YACKSHAW (0090623)
                                            Assistant Attorneys General
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                                              Counsel for Defendant
                                              Ohio Secretary of State Frank LaRose




                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 13, 2021, the foregoing was filed electronically. Notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the court’s system.


                                              /s/ Julie M. Pfeiffer
                                              JULIE M. PFEIFFER (0069762)*
                                              Assistant Attorney General




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